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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION
                               www.flmb.uscourts.gov


In re:                                             Chapter 11

TRUTH TECHNOLOGIES, INC.,                          Case No. 9:18-bk-05608-FMD

               Debtor.                             Judge Caryl E. Delano
__________________________________/

               FIRST INTERIM APPLICATION OF NOACK & CO,
           LLC FOR COMPENSATION FOR SERVICES RENDERED AS
         ACCOUNTANTS TO THE DEBTOR AND DEBTOR-IN-POSSESSION
              FROM JULY 6, 2018 THROUGH DECEMBER 31, 2018



    NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

      Pursuant to Local Rule 2002-4, the Court will consider this motion, objection, or
other matter without further notice or hearing unless a party in interest files a response
within 21 days from the date set forth on the proof of service attached to this paper plus
an additional three days for service. If you object to the relief requested in this paper, you
must file your response with the Clerk of the Bankruptcy Court located at the Sam M.
Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555, Tampa, FL 33602,
and serve a copy on the movant’s attorney, Mike Dal Lago, Esq., 999 Vanderbilt Beach
Rd., Suite 200, Naples, Florida 34108, within the time allowed.

       If you file and serve a response within the time permitted, the Court may schedule
and notify you of a hearing, or the Court may consider the response and may grant or
deny the relief requested without a hearing. If you do not file a response within the time
permitted, the Court will consider that you do not oppose the relief requested in the paper,
will proceed to consider the paper without further notice or hearing, and may grant the
relief requested.

     If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.
           Case 9:18-bk-05608-FMD          Doc 111       Filed 02/27/19    Page 2 of 19



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION
                                   www.flmb.uscourts.gov

  In re:                                                 Chapter 11

  TRUTH TECHNOLOGIES, INC.,                              Case No. 9:18-bk-05608-FMD

                 Debtor.                                 Judge Caryl E. Delano
  __________________________________/

                 FIRST INTERIM APPLICATION OF NOACK & CO,
             LLC FOR COMPENSATION FOR SERVICES RENDERED AS
           ACCOUNTANTS TO THE DEBTOR AND DEBTOR-IN-POSSESSION
                FROM JULY 6, 2018 THROUGH DECEMBER 31, 2018


 Name of Applicant:                             Noack & Co, LLC

 Services Provided to:                          Truth Technologies, Inc.

 Date of Retention:                             July 6, 2018

 Period for this Application:                   July 6, 2018 through December 31, 2018

 Amount of Compensation Sought:                 $19,762.95

 Amount of Expense Reimbursement:               $0.00

 Amount of Original Retainer: N/A               Current Balance: N/A

This is an: _x_ interim ___ final application

Disclose the following for each prior application:

                             Requested                  Approved         Paid       Holdback
 Filed     Period   Fees    Hrs. Rate      Exps.       Fees Exps.     Fees Exps.


      Total                     N/A                       N/A             N/A         None




                                                   2
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
                                www.flmb.uscourts.gov

  In re:                                              Chapter 11

  TRUTH TECHNOLOGIES, INC.,                           Case No. 9:18-bk-05608-FMD

                 Debtor.                              Judge Caryl E. Delano
  __________________________________/

                 FIRST INTERIM APPLICATION OF NOACK & CO,
             LLC FOR COMPENSATION FOR SERVICES RENDERED AS
           ACCOUNTANTS TO THE DEBTOR AND DEBTOR-IN-POSSESSION
                FROM JULY 6, 2018 THROUGH DECEMBER 31, 2018

   I.      SUMMARY OF TIME

               Noack & Co, LLC (“Noack”) submits this fee application in the total amount of

$19,762.95 for accounting services provided to the Debtor.


   II.     NARRATIVE SUMMARY

   1.      Petition Date.

           Truth Technologies, Inc. (“Debtor”) filed a voluntary petition for relief under Chapter

11 of Title 11 of the United States Code (“Bankruptcy Code”) on July 6, 2018 (“Petition Date”).

The Debtor is authorized to continue to operate its business and manage its properties as a debtor

in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

   2.      Order Authorizing Employment of Accountant.

           On August 21, 2018, this Court authorized the employment of Noack as accountants

for the Debtor, nunc pro tunc as of the Petition Date (Docket No. 44).




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   3.      Terms and Conditions of Employment and Compensation.

           a. Hourly Rates.

           The Debtor agreed to compensate Noack for services performed in this case by Janet

Noack, CPA at an hourly rate of $250.00. According to the terms of the agreement, the Debtor

also agreed to compensate Noack for services performed in this case by Staff Accountants at their

hourly rates ranging from $95.00 to $175.00.

           b. Sharing of Compensation.

           Except as provided under Section 504(b) of the Bankruptcy Code, Noack has not

shared, or agreed to share, any compensation or reimbursement with any other person.

           c. Retainer.

           Noack has not received a retainer from the Debtor toward compensation for

professional services and reimbursement of expenses incurred in this case.

            Prior Application and Order

           Noack has not filed any applications for fees and expenses. This is the first interim

application for fees and expenses.

           d. Caps and Limitations.

           Unless otherwise ordered by the Court, there are no caps or limitations on fees or other

charges.

           e. Time period of this application.

           This is a fee application for the period July 6, 2018 through December 31, 2018 (“Fee

Application” or “Application”). This Application is the first interim Fee Application for time and

expenses incurred by Noack from the Petition Date and covers the period from July 6, 2018

through December 31, 2018.



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               f. Prior Review.

               The Debtor has been served with a copy of this Fee Application.

   III.        STATUS OF CASES

   1. Preliminary Statement.

               This case was filed as a reorganization case. The Debtor has now filed its Plan of

Reorganization and is in the process of soliciting votes in favor of that Plan.

   2. Project Summary.

          Noack seeks compensation for accounting services that it performed for the Debtor.

Annexed hereto as Exhibit “A” are time entries reflecting the work performed by Noack in

connection with such accounting services. The following outline highlights the bulk of accounting

services that Noack provided:

               a. Analysis of Quickbooks data from Constructive Trust;

               b. Reconciliation of the Constructive Trust’s data that was turned over to the estate;

               c. Preparation of Debtor’s 2017 Federal Income Tax Return;

               d. Preparation of 2017 California, Virginia and Florida Income Tax Returns; and

               e. Preparation of Monthly Operating Reports.


   IV.         DECLARATION.

          The undersigned offers this declaration under penalty of perjury in support of the foregoing

Application of Noack & Co, LLC for Compensation for Services Rendered as Accountants to the

Debtor and Debtor-in-Possession:

          1.      I am a member of Noack & Co, LLC (“Firm”), a certified public accounting, tax

and business consulting firm located at 12610 World Plaza Lane, Unit 1, Fort Myers, Florida

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33907. I make this declaration based upon personal knowledge of the matters set forth herein.

       2.      I am familiar with the matters set forth herein and am duly authorized to make the

following Declaration (“Declaration”) in support of this Application and for the purpose of

fulfilling the disclosure requirements of Rules 2014(a) and 2016(b) of the Federal Rules of

Bankruptcy Procedure. Except as otherwise indicated, I have personal knowledge of the matters

set forth herein and, if called as a witness, would testify competently thereto.

       3.      The compensation being sought by Noack is based on the customary compensation

charged by comparably skilled accountants in cases under Title 11.

       4.      Our firm billed the Debtor at its customary hourly rates for accounting services for

the Debtor. The total amount billed for these services is $19,762.95.

       5.      The foregoing application of Noack & Co, LLC is true and correct.


 Dated: February 27, 2019                                 /s/ Janet A. Noack, CPA
                                                          Janet A. Noack, CPA



 Dated: February 27, 2019                                 Respectfully submitted,

                                                          DAL LAGO LAW

                                                          /s/ Michael R. Dal Lago
                                                          Michael R. Dal Lago
                                                          Florida Bar No. 102185
                                                          999 Vanderbilt Beach Road
                                                          Suite 200
                                                          Naples, FL 34108
                                                          Telephone: 239-571-6877
                                                          mike@dallagolaw.com

                                                          Counsel for Debtor and Debtor-in-
                                                          Possession, Truth Technologies, Inc.




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                                CERTIFICATE OF SERVICE

        I CERTIFY that a true and correct copy of the foregoing was electronically served through

the Court’s CM/ECF Noticing system to all parties registered for service and by First Class U.S.

Mail, postage prepaid, to all Local Rule 1007-2 Parties in Interest List, as noted on the attached

mailing matrix, this 27th day of February, 2019.



                                                       /s/ Michael R. Dal Lago
                                                       Michael R. Dal Lago
                                                       Florida Bar No. 102185




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         EXHIBIT "A"
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113A-9                                       Kelley Kronenberg Attorneys at Law              Tampa
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Middle District of Florida                   Tampa, FL 33607-4596
Ft. Myers
Mon Feb 27 11:25:18 EST 2019
Noack & Co, LLC                              Regions Bank c/o Ronald B. Cohn, Esq.           Synovus Banlc
Janet Noack, CPA                             201 North Franlclin Street                      c/o Trenam. Law
12610 World Plaza Lane                       Suite 3200                                      Lara R. Fernandez
Unit 1                                       Tampa, FL 33602-5872                            101 E Kennedy Boulevard, #2700
Fort Myers, FL 33907-4076                                                                    Tampa, FL 33602-5150

Truth Technologies, Inc.                      AMERICAN EXPRESS NATIONAL BANK -               Advanced Partnerships LLC
5621 Strand Blvd.                             C/0 BECKET AND LEE LLP                         P .0. Box 8203
Suite 305                                     PO BOX 3001                                    Essex Junction, VT 05451-8203
Naples, FL 34110-7307                         MALVERN PA 19355-0701


American Express                              CAPCALL                                        CBSG -
PO Box 650448                                 E Advance Svcs, LLC                            20 N 3rd Street
Dallas, TX 75265-0448                         122 E 42nd Street                              Philadelphia, PA 19106-2118
                                              Suite 2112
                                              New York, NY 10168-2100

Capital One Banlc                             Capital One Bank (tJSA), N.A. -                Complete Business Solutions Group d/b/a PAR
P.O. Box 71083                                PO Box 71083                                   c/o Kelley Kronenberg Attorneys at Law
Charlotte, NC 28272-1083                      Charlotte, NC 28272-1083                       1511 N. Westshore Blvd., Suite 400
                                                                                             Tampa, FL 33607-4596


Complete Business Solutions G roup, Inc -     Department of Revenue                          EBRC
c/o Joe Cole, CFL                             PO Box 6668                                    Soci t Anonyme
20 N. 3 Street                                Tallahassee FL 32314-6668                      5, Rue Eug ne Ruppert
Philadelphia, PA 19106-2118                                                                  R.C. Luxembourg B
                                                                                             72585

Egide Thein                                   Eric Britz -                                   Ethixbase 360 Pte Ltd -
2341 Cheshire Lane                            3760 NW 101st Ave                              60 Paya Lebar Road
Naples, FL 34109-3373                         Coral Springs, FL 33065-2842                   04-23
                                                                                             Singapore 409051


Fireminds   Tech Solutions                    First Global Capital                           Future Event
Fireminds   tJSA                              1250 E Hallandale Beach Blvd                   80 SW 8th Street
222 Ponce   De Leon Blvd                      Suite 406                                      Suite 3250
Miami, FL   33134                             Hallandale, FL 33009-4624                      Miami, FL 33130-3003


GTR Queen (Regions)                           Gungho Marketing Ltd                           Informatica Corporation
Queen Funding LLC                             Suite 6, 1st Floor                             P.O. Box 741089
2221 NE 164th Street                          Stoway BSA                                     Los Angeles, CA 90074-1089
Suite 1144                                    Pounbury DTl 3SB
Miami Beach, FL 33160-3703                    Dorset, England, Europe

Internal Revenue Service -                    Kash                                           Kash Capital
P.O. Box 7346                                 c/o Ariel Bouskila, Esq.                       475 Northern Blvd.
Philadelphia, PA 19101-7346                   Berkovitch & Bouskila, PLLC                    3rd Floor, Suite 36,
                                              40 Exchange Place Ste 1306                     Great Neck, NY 11021-4819
                                              New York, NY 10005-2743
Lead Forensics              Case 9:18-bk-05608-FMD
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3000 Lakeside, N Harbour                     633 W. Fifth Ave                          PO Box 31112
Western Rd, Portsmouth                       Suite 4000                                Grand Cayman KYl-1205
Hampshire P06 3EN                            Los Angeles, CA 90071-2074                Cayman Islands
Portsmouth, United Kingdom, Europe

Mastercard                                 McGuire Woods LLP                           Midnight
PO Box 15796                               Corporate Office Center                     1080 McDonald Ave
Wilmington, DE 19886-5796                  Tysons II                                   Suite 206
                                           Tysons, VA 22102-4215                       Brooklyn, NY 11230-2647


Midnight II                                NYS Dept of Labor -                         New York State Department of Taxation & -
1080 McDonald Ave                          State Campus Bldg 12 Rm 256                 New York State Dept. of Tax & Finance
Suite 206                                  Albany, NY 12240-0001                       Bankruptcy Section
Brooklyn, NY 11230-2647                                                                P O Box 5300
                                                                                       Albany, NY 12205-0300

Newtek Small Business                      Phil Brannon                                ROC
1981 Marcus Avenue                         3800 Fairfax Drive                          260 Christopher Lane
Suite 130                                  Apt. 18                                     Staten Island, NY 10314-1600
New Hyde Park, NY 11042-1046               Arlington, VA 22203-1711


ROC Funding Group, Inc. -                  Rackspace                                   Regions Bank
c/o Joe Cole, CFO                          1 Fanatical Place                           Attn: Raul Toledo
20 N. 3 Street                             City of Windcrest                           4851 Tamiami Trail N
Philadelphia, PA 19106-2118                San Antonio, 'l'X 78218-2179                Naples, FL 34103-3098


Regions Bank -                             Regulatory DataCorp, Inc.                   Regus
c/o Ronald B. Cohn, Esq.                   211 S Gulph Rd #125                         11555 Heron Bay Blvd
Burr & Forman LLP                          King of Prussia, PA 19406-3112              Suite 200
201 North Franklin Street, Suite 3200                                                  Coral Springs, FL 33076-3362
Tampa, Florida 33602-5872

Reuters UK Limited                         SmartBear                                   State of New York
Thomson Reuters Building                   450 Artisian Way, 4th Floor                 Dept of Labor
30 South Colonnade                         Somerville, MA 02145-1262                   Unemployment Ins Division
Canary Wharf, London, EU SEP                                                           Gov W Averell Harriman State Office Buil
United Kingdom                                                                         Building 12, Room 256
                                                                                       Albany, NY 12240-0001
Steele Compliance Solutions                Synows Bank                                 Synows Bank
2638 Highway 109                           1605 Main Street                            c/o Lara R. Fernandez
Suite 200                                  Suite 107                                   101 East Kennedy Boulevard, Suite 2700
Wildwood, MO 63040-1161                    Sarasota, FL 34236-5854                     Tampa, Florida 33602-5150


Synows Bank -                              Thomson Reuters (Financial & Risk) -        VO Consulting
c/o Lara R. Fernandez - Trenam Law         c/o Sarah E. Doerr, Esq.                    6, Rue d' Arlon
101 E. Kennedy Boulevard, Suite 2700       Moss & Barnett                              Batiment C
Tampa, FL 33602-5150                       150 5th Street South, Suite 1200            L-8399 Windhof
                                           Minneapolis MN 55402-4129                   Luxembourg, Europe

Venable                                    Wells Fargo Bank, N.A. -                    Wells Fargo Rome Mortgage
PO Box 62727                               Small Business Lending Division             PO Box 10335
Baltimore, MD 21264-2727                   P.O. Box 29482                              CHECK ADDRESS
                                           Phoenix, AZ 85038-9482                      Des Moines, IA 50306-0335
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                                                                                                              E Hicks+
2150 Goodlette Rd N                         30 Broad Street                                              Kelley Kronenberg, Attorneys at Law
Sixth Floor                                 14th Floor, Suite 1462                                       1511 N. Westshore Blvd., Suite 400
Naples, FL 34102-4810                       New York, NY 10004-2304                                      Tampa, FL 33607-4596


Ronald B Cohn+                                      Benjamin E. Lambers+                                 United States Trustee - FTM+
Burr & Forman LLP                                   Timberlake Annex                                     Timberlake Annex, Suite 1200
201 North Franklin Street                           501 E. Polk Street, Suite 1200                       501 E. Polk Street
Suite 3200                                          Tampa, FL 33602-3945                                 Tampa, FL 33602-3949
Tampa, FL 33602-5872

Dennis J Levine+                                    Lara Roeske Fernandez+                               Michael R Dal Lago+
Kelley Kronenberg, Attorneys at Law                 Trenam, Kemker, et al                                999 Vanderbilt Beach Road, Suite 200
1511 N. Westshore Blvd., Suite 400                  PO Box 1102                                          Naples, FL 34108-3512
Tampa, FL 33607-4596                                Tampa, FL 33601-1102




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(d)Regions Bank                                     (u)Note: Entries with a'+' at the end of the         End of Label Matrix
c/o Ronald B. Cohn, Esq.                            name have an email address on file in CMECF          Mailable recipients    68
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201 North Franklin Street, Suite 3200               Note: Entries with a' '- at the end of the           Total                  70
Tampa, Florida 33602-5872                           name have filed a claim in this case
